          Case 3:21-cr-00145-FAB Document 32 Filed 06/07/21 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA

        Plaintiff,
                                                           Case No. 3:21-cr-00145 (FAB)
                        v.

 [1] FERNANDO BONILLA-MORALES

        Defendant(s).




                                            ORDER

       The Report and Recommendation filed on May 12, 2021, ECF No. 27 on defendant’s Rule

11 proceeding held before Magistrate Judge Marcos E. Lopez on April 28, 2021, to which no

opposition has been filed, has been considered de novo and APPROVED.

       The Court finds that the plea was entered voluntarily and intelligently, with awareness of

the rights and the consequences of pleading guilty and that it contains all the elements of the

offense charged in the information. Accordingly, the guilty plea of defendant is accepted. This

case was referred to the Probation Office for preparation of a Presentence Investigation Report on

April 28, 2021. Pre-Sentence report filed on June 6, 2021, ECF No. 28.

       Sentencing hearing remains set for July 8, 2020 at 9:00 am before the undersigned.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 7th day of June, 2021.

                                             s/Francisco A. Besosa
                                             FRANCISCO A. BESOSA
                                             United States District Judge
